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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO

SPENCER NEAL,                                )       CASE NO. 2:20-CV-00931
                                             )
       Plaintiff,                            )       JUDGE MICHAEL H. WATSON
                                             )
v.                                           )
                                             )
JAG BLACK GOLD MANAGEMENT                    )       MOTION FOR DISMISSAL
COMPANY,                                     )       PURSUANT TO FED. CIV. R.
                                             )       41(a)(1)(A)(i)
                                             )
       Defendant.                            )

       NOW COMES Plaintiff Spencer Neal, by and through counsel, and hereby motions this

Most Honorable Court for an Order of dismissal pursuant to Fed. Civ. R. 41(a)(1)(A)(i) as to

Defendant JAG Black Gold Management Company. Following a private settlement agreement,

Plaintiff now desires the dismissal of all claims against Defendant with prejudice.


                                             Respectfully submitted,

                                             /s/ ​COLIN G. MEEKER
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                                             Colin G. Meeker (#0092980)
                                             Blakemore, Meeker & Bowler Co., L.P.A.
                                             495 Portage Lakes Dr.
                                             Akron, OH 44319
                                             Office: (330) 253-3337
                                             Fax: (330) 253-4131
                                             cgm@bmblaw.com

                                             Attorney for Plaintiff, Spencer Neal
